      Case 3:20-cv-01018-RAH-SRW Document 115 Filed 12/14/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

MADISEN ULRICH,                                      )
                                                     )
       Plaintiff,                                    )
                                                     )
vs.                                                  ) Civil Action No: 3:20-cv-1018-RAH
                                                     )
319 BRAGG STUDENT HOUSING                            )
AUBURN, AL, et al.,                                  )
                                                     )
       Defendants.                                   )

                    DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       COME NOW Defendants 319 Bragg Student Housing Auburn, AL LLC (hereinafter

singularly “Bragg”) and GREP Southeast, LLC (hereinafter singularly “GREP”) (collectively

hereinafter “Defendants Bragg and GREP”), Defendants in the above-captioned matter, and in

accordance with the Order of this Court, and pursuant to Rule 56(a) of the Federal Rules of Civil

Procedure, hereby move the Court for summary judgment on all claims asserted against these

Defendants by the Plaintiff.

       Defendants Bragg and GREP are entitled to summary judgment on all of the Plaintiff’s

claims because there exist no genuine disputes of fact that the Plaintiff was contributorily

negligent, and that these negligent acts were the sole, proximate cause of her alleged injuries. As

such, Defendants Bragg and GREP are entitled to judgment as a matter of law on the issues of

negligence and wantonness. Accordingly, Defendants Bragg and GREP hereby submit their Brief

in Support of the Defendants’ Motion for Summary Judgment, attached hereto as “Exhibit 1.” The

following evidentiary submissions are also attached hereto, and referenced by page and line

number in these Defendants’ Brief, as set forth below:

                       Exhibit A:     Doc. 83-1
     Case 3:20-cv-01018-RAH-SRW Document 115 Filed 12/14/21 Page 2 of 3




                      Exhibit B:     Doc. 61

                      Exhibit C:     Doc. 85-1

                      Exhibit D:     Doc. 86

                      Exhibit E:     Doc. 106

                      Exhibit F:     Doc. 69-1

                      Exhibit G:     Doc. 85-23

                      Exhibit H:     Doc. 104-1

                      Exhibit I:     Doc. 85-2

                      Exhibit J:     Doc. 1

                      Exhibit K:     Doc. 85-20

                      Exhibit L:     Doc. 85

                      Exhibit M:     Doc. 103-1

       WHEREFORE, PREMISES CONSIDERED, Defendants Bragg and GREP respectfully

move this Court for an entry of summary judgment in their favor on all of the Plaintiff’s claims,

pursuant to Rule 56(a) of the Federal Rules of Civil Procedure.


                                              Respectfully submitted,

                                               /s/ David M. Wilson
                                              DAVID M. WILSON (ASB-1797-271d)
                                              Attorney for the Defendants
                                              319 Bragg Student Housing Auburn, AL LLC
                                              and GREP Southeast, LLC

OF COUNSEL:
GAINES GAULT HENDRIX, PC
361 SUMMIT BLVD.
SUITE 200
BIRMINGHAM, AL 35243
(205) 402-4834 (OFFICE DIRECT)
EMAIL: DWILSON@GGH-LAW.COM
     Case 3:20-cv-01018-RAH-SRW Document 115 Filed 12/14/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served upon all parties in this cause
by electronic mail using the CM/ECF system on this the 14th day of December, 2021.

Attorney for Plaintiff:

Nick Wooten
NICK WOOTEN, LLC
5125 Burnt Pine Drive
Conway, Arkansas 72034
nick@nickwooten.com


                                              /s/David M. Wilson
                                              OF COUNSEL
